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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF KENTUCKY
                                           LEXINGTON DIVISION

 REPUBLIC SERVICES , INC.

                     PLAITIFF

                                                                CIVIL ACTION NO. 03- 494KSF
 LIBERTY MUTUAL INSURANCE                                      FILED ELECTRONICALLY
 COMP ANY , ET AL.

                     DEFENDANTS.


                                                    ORDER



           This matter having come before the Court on Defendants ' Motion for Leave to Amend

 their Answer to Assert a Counterclaim , and the Court being suffciently advised

          IT IS HEREBY ORDERED               as follows:

                     Defendants ' Motion for Leave to Amend their Answer to Assert a Counterclaim is

 GRANTED.

                      The Amended Answer and Counterclaim tendered with Defendants ' Motion is

 deemed fied of record; and

                      The Plaintiffs have ten days from the date of this Order to reply to the

 Counterclaim.

          Dated:




                                             JUGE , UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF KENTUCKY




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